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         Form B 40A/B ALT - Reafﬁrmation Agreement (04/10)
                                                                           [:1   Presumption of Undue Hardship
                                                                           D No Presumption of Undue Hardship
                                                                       (Check box as directed in Part D: Debtor’s Statement
                                                                       in Support of Rcaﬁ'n’mation Agreement.)




                        UNITED STATES BANKRUPTCY COURT
                                   EASTERM DISTRICT OF PA
                                          PHILADELPHIA

         In re MARK W SCIUMECA                                                     Case No. 1117348

                                                                                   Chapter 7

                                      REAFFIRMATION AGREEMENT




                Wy
                 [Indicate all documems included in this ﬁling by checking each applicable box]
                D Part A: Disclosures, Instructions, and                    E3   Pm D: Debtor’s Statement in
                     Notice to Debtor (pages   1   ~
                                                       5)                        Support of Reafﬁrmation Agreement
                C]   Pan B: Reafﬁrmation Agreement                          [I Part E: Motion for Court Approval
                                                                         ﬁk [mgr ge
                [N0te: Complete Part E only if debtor was not represented by an attorney during
                                                                                   If
                the course of negotiating this agreement. Note also: you complete Part
                E, you must prepare and ﬁle Form 2408 ~ Order an Reaﬂz‘rmation
                Agreement]

                Name of Creditor: Wells Fargo Home Mortgage

                El [Check this box if] Creditor is a Credit Union as deﬁned in
                §19Cb)(1)(a)(iv) of the Federal Reserve Act

         PART A: DISCLOSURE STATED/BENT, INSTRUCTIONS AND NOTICE TO DEBTOR

                1.       DISCLOSURE STATEMENT

                Before Agreeing to Reaﬁrm              a   Debt, Review These Important Disclosures:

         SUIWMARY OF REAFFIRNIATION AGREEMENT
                This Summary is made pursuant to the requirements                 of the Bankruptcy Code.

         AMOUNT REAFFIRMED

                The amount    of debt you have agreed to reafﬁrm:                                  $ 270,173.42


                The amount of debt you have agreed to reafﬁrm includes allfees and costs (ifany) that
                have accrued as of the date oft/11's disclosure. Your credit agreement may obligate you to
                pay additional amounts which may come due after the date of this disclosure. Consult
                your credit agreement.
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     3476 Smmvi
     MAC: x7801—014
     Fort Mill, S.C. 29715
     800474-7025




     MICHAEL A CIBIK
     CIBIK & CATALDO, RC.
     1500 WALNUT ST STE 900
     PHILADELPHIA
     19102
                          PA
                                                           Jo
                                                          1”,“
                                                                 ,
                                                                       Map
                                                                        ML
                                                                         EUO‘OAE

                                                                        Mix—12y.          3U UN?»

     May 6, 2016
                                                                          WTer            ?
     Loan 708-      XXXXXX 3993

     To Whom It May Concern:

     Enclosed please ﬁnd a reafﬁrmaﬁon agreement signed by Wells Fargg Home Mortgage. It is not our policy
     to ﬁle reafﬁrmaﬁon agreements with the court. Please have this reafﬁrmation agreement ﬁled with the
     court and forward a copy of the ﬁled stamped reafﬁrmation agreement to Wells Fargo Home Mortgage at
     the above listed address.

     Should you have questions, feel free to contact Wells Fargo Home Mortgage at the above referenced number.



     Reghfﬁurmation Processor                          0213;9‘J5A 1?.CFC1-HZNWH 0L7 AﬁfeﬁMen—‘f
     Ba       ptcy Department
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                                                                        MéCJAA-GI Cllbl K                        m
                                                                  was Lbs“ LUPE cQJUO’UH Mfr
     Enclosure: Signed Reafﬁrmation Agreement



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                           djpesq@gmai|.com


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     connposs   i           RE: WF

Ii i'. W                            Mark Sciumeca <marksciumeca@gmail.com>
                                    to Demetrius
 "         ’L


                                    Iam stunned and delighted. was going to We per se today and let the chips fall. BUT knowing that judge Frank does not get in
                                                                             !


                                    TRUSTS WFB. Why now? will be here a" morning. PLEASE ASK WFB TO SEND IT OVERNIGHT OR REGISTERED MAIL.
                                                                         I




                                    In   your opinion do have a disciplinary action against Michae! Cataldo who “lost” the agreement in his ofﬁce stacked with a” my
                                                           I




                                                                                             W
                                    Sent from    Q Mail for Windows              10


                                    From: Demetrius Parrish
                                    Sent: Friday, January 5, 2018 5:47 PM
                                    To: marksciumeca@gmail.com
                                    Subject: WF

                                    Mark

                                    Today I spoke to Drew from WF. He advised that WF is sending a reaffirmation agreement that we should be receiving soon‘




                            '
                                         nt from my iPhone




                                         Click hereto   Bwpmyw   or    Eggwmggg                    M           .a‘ILQJ‘Ug

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                           3.25 GB {21%) of 15 GB used                                                                                          Terms - Privacv
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                                   UNITED STATES BANKRUPTCY COURT
                                                         WESTERN DISTRICT OF PA
                                                                 PHILADELPHIA
                                                '



     MARK w SCIUMECA                                                    Case Number    1117348

     [Debtor                                                            Chapter   7


       REAFFIRMATION AGREEMENT COVER SHEET

This foxm must be completed in its entirety and ﬂed, with the rcafﬁrmation agreement attached, within thc time set
under Rule 4008. It may be ﬁled by any party to the reafﬁrmation agreement.

1.        Creditor’s Name: Wells Fargo Home Mortgage

2,        Amount of the debt subject to this reafﬁrmation agreement:
         $ 270 173.42 on the date of bankruptcy $ 19.70.173.42 to be paid under rcafﬁrmation agreement


3,        Annual percentage rate of interest: 4.50000% prior to bankruptcy
                                                                 3;
          4.50000 % under reafﬁnnation agreement ( Fixed Rate m Adjustable Rate)

4.        Repayment terms    (if ﬁxed rate):        3;   1   794.39 per month for i3; months

5.        Coﬂateral, if any, securing the debt: Current market value: $
          Descn’ption: Real groggy

6.        Does the creditor assert that the debt is nondischargeable?          Yes X No
          (If yes, attach a declaration setting forth the nature of the debt and the basis for the contention that the debt is
                                                                                                                            ‘

          nondischargeable.)

Debtor’s Schedule I and     I Entries                                       Debtor’s Income and Expenses
                                                                           as Stated on Reafﬁrmation Agreement

7A. Total monthly income from       $    1/ I   D ‘9             78.       Monthly income from all        3:   7! g 05’
    Schedule 1, line 16                                                    sources after payroll deductions

8A. Total monthly expenses           $   9? 7?                  8B.       Monthly expenses               S     :2 3‘???
    From, Schedule J , line 18

9A. Total monthly payments 011 $          ’9’,                   9B.       Total monthly payments on S                  / g73   '

                                                                                                                                    MO?“
    reafﬁrmed debts not listed on                                          reafﬁrmed debts not included in                          10
       Schedule   1                                                        monthly expenses

                                                                1013.     Net monthly income              S   ‘QE  #9 Z}
                                                                          (Subtract sum of lines 8B and 913 from
                                                                           Line 7B. If total isles than zero, put the
                                                                          number in brackets.)
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        Form B240A/B ALT » Reafﬁrmatitm Agreement (Cont)                                                3


                the amount of each balance and the rate
                applicable to it are:

                3                @          0/0;

                $                @   MBA);
                $                @          %A




                c.   If the underlying debt transaction was disclosed as a variable rate
        transaction on the most recent disclosure given under the Truth in Lending Act:

                The interest rate on your loan may be a variable interest rate Which




                                                   W
                Changes from time to time, so that the annual percentage rate
                disclosed hers may be higher or lower.

                (1.    Ifthe reafﬁrmeddebt is secured by a security interest or hen, which
        has not been waived or determined to be void by a ﬁnal order of the court, the
        following items or types of items of the debtor’s goods or property remain
        subject to such security interest or lien in connection with the debt or debts being
        reafﬁnned in the reafﬁrmation agreement descn'bed in Part B.


        Item or Type of Item                       Orioinal Purchase Price or OriOinal Amount of Loan

        3527 INDlAN QUEEN LA                                          S   279,812.00
        PHILADELPHIA PA 19129-1564


        OQtionaZ—-—At     election ofﬂmcﬁiﬁ’itdzgla repayment schedule using one or a
                          1126

        combination of the following may beprovided:

        Regayment Schedule:

        Your ﬁrst payment in the amount 0f$ 1,794.39 is due on 10/01/11, but the future payment
        amount may be different. Consult your reaﬁ'lrmation agreement or credit agreement, as
         applicable.

                                                          _—-Or-—


         Your payment schedule will be:             (number) payments in the amount of
         $9             each, payab1e (monthly, annually, weekly, etc.) on the
         (day) of each                 ( week, month, etc), unless altered later by mutual
         agreement in writing.

                                                          *0,»—

         A reasonably speciﬁc description of the debtor’s repayment obligations to        the
         extent known by the creditor or creditor’s representative.
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            Form B240A/B ALT - Reafﬁrmation Agreement (Cont)                                                 4

                    2.    INSTRUCTIONS AND NOTICE TO DEBTOR

                    Reafﬁrming        a   debt is   a serious   ﬁnancial decision. The law requires you to
            take certain steps to make sure the decision is in your best interest. If these steps are
            not completed, the                                                         -




            reafﬁrmation agreement is not effective, even though you have signed it.

                    1.Read the disclosures in this Pam A carefully. Consider the decision to reaffum
                                 if
            carefully. Then, you want to reafﬁrm, Sign the reafﬁrmation agreement in Parr B
            (or you may use a separate agreement you and your creditor agree on)

                  2. Complete and Sign Part D and be sure you can afford to make the
            payments you are agreeing to make and have received a copy of the disclosure
            statement and a completed and signed maffirmation agreement.

                   3. If you were represented by an attorney during the negotiation of your
            rcafﬁrmation agreement, the attorney must have signed the certiﬁcation in Part C‘

                   4. If you were not represented by an attorney during the negotiation of your
            reafﬁrmation agreement, you must have completed and signed Part E.

                    5.    The original    of this disclosure must be ﬁled with the (mm by you or your
            creditor. If a separate reaffumation agreement (other than the one in Part B) has been
            signed, it must be
            attached.

                     6.   If the creditor is not a Credit Union and you were represented by an attorney dun‘ng
            the negotiation of your reaﬁ'mnation agreement, your reafﬁrmation agreement
            becomes effective upon ﬁling with the court unless the reafﬁrmation is presumed to
            be an undue hardship as
            explained in Part D. If the creditor is a Credit Union and you were represented by an
            attorney during the negotiation ofyour reafﬁrmation agreement, your rcafﬁrmation
            agreement becomes effective upon ﬁling With the court.

                    7.    If you were not represented by an attorney during the negotiation of your
            reafﬁrmation agreement, it will not be effective unless the court approves it. The
            court will notify you and the creditor of the hearing on your reaffumation agreement.
            You must aftend this healing in
        .   bankruptcy court where the judge will review your reafﬁrmation agreement. The
            bankruptcy court must approve your reafﬁrmation agreement as consistent with your
            best interests, except that no court approval is required if your reafﬁnnation
            agreement is for a consumer debt secured by a mortgage, deed of trust, security deed,
            or other 1i an on your real property, like your home.
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        Form BZ4OA/B ALT Reafﬁrmation Agreement (Cent)
                                 —
                                                                                                       5


           YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

                You may rescind (cancel) your reafﬁrmation agreement at any time before the
        bankruptcy court enters a discharge order, or before the expiration of the 60—day pedod that
        begins on the date your reafﬁmnati on agreement is ﬁled with the couﬂ, Whichever
        occurs later. To rescind (cancel) you; reafﬁrmation agreement, you must notify the
        creditor that your reaﬁinnation agreement is rescinded (or canceled).


        Frequently Asked Questions:

                 What are VOUI obligations if vou reafﬁrm the debt? A rcafﬁnned debt remains your
        personal legal obligation. It is not discharged in your bankruptcy case. That means
        that if you default on your reafﬁrmed debt after your bankruptcy case is over: your
        creditor may be able to take your property of your wages. Otherwise, your
        obligations will be determined by the reafﬁrmation agreement which may have
        changed the terms of the original agreement. For example, if you are reafﬁrming an
        open and credit agreement, the creditor may be permitted by that agreemen’t or
        applicable law to change the terms of that agreement in the ﬁlture under
        certain conditions.

                  Are: you required to enter into a reafﬁrmation agreement by any law? No, you are not
                                                                                if
         required to reaffirm a debt by any law. Only agree to reafﬁrm a debt it is in your
         best interest. Be sure you can afford the payments you agree to make.

                What   if your    creditor has a secun'tv interest or lien? Your bankruptcy
         discharge does not eliminate any lien on your property. A “lien” is often referred to
         as a security interest, deed of trust, mortgage or secuﬁty deed. Even if you do not
         reafﬁrm and your personal liability on the debt is discharged, because of the lien
         your creditor may still have the right to take the secun'ty property if you do not pay
         the debt or default on it. If the lien is on an item of personal property that is exempt
         under your State’s law or that the tmstee has abandoned, you may be able to
         redeem the item rather than reaﬁinn the debt. To redeem, you make a single payment to the
         creditor equal to the current value of the secuﬁty property, as agTeed by the parties or
         dctcnnined by the court.

                NOTE: When this disclosure refers to What a creditor “may” do, it
                dues not use the word “may” to give the creditor speciﬁc permission.
                The word “may” is used to tell you what might occur if the law
                permits the creditor to take the action. Ifyou have questions about
                reafﬁrrning a debt or what the law requires, consult with the attorney
                who helped you negotiate this agreement reafﬁrming a debt. If you
                don’t have an attorney helping you, the judge will explain the effect
                of your reafﬁrming a debt when the hearing on the reafﬁrmation
                agreemcnt is held.
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         Form B240A/B ALT - Reafﬁrmation Agreement (Cont)                                                                     6

         PART B: REAFFIRMATION AGREEMENT.

                     I (we) agree to reafﬁrm the debts arising under the credit agreement descn'bed below
                 ‘
                     1.   Brief description of credit agreement:




                   Description of any changes to the credit agreement made
                     2.                                                                          as   part of this
        reafﬁrmation agreement:


         SIGNATURE              S    :




         Borrower:                                                       Accepted by creditor:




          M’Aﬁﬁt            SCCUMW                         '



                                                                         Wells Fargo Home Mortgage
                                                                         (Printed Name of Creditor)

                                                                                                                          ‘

                                                                         3476 Statevicw Blvd.,F01’t   Mill, SC.   29715
                                                                         (Address of Creditor)



         Co—borrowe             if       ISO   reafﬁnning these debts:   (Signature)
                            ,
                                                                                       ‘




                                                                         Karen Pauling, Bankruptcy Specialist
            '
         (Pmt Name)/
                                                                           (Printed Name and Title of
                                                                         Individual Signing for Creditor)
         (Signature)                                                     Date   of cfeditor acceptance:
         Date:                                                           October 24, 2011
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         Form BZ40A/B ALT Reafﬁrmaﬁon Agreement (Cont)
                                  —
                                                                         '
                                                                                                      7


         PART C: CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY).

   [To be ﬁled only   if the attomey represented the debtor during the   course   of negotiating
  this agreement]


                 I hereby certify that (I) this agreement represents a fully informed and voluntary
         agreement by the debtor; (2) this agreement does not impose an undue hardship on
                                                            l
         the debtor or any dependent of the debtor; and (3) have fully advised the debtor of
         the legal effect and
         consequences of this agreement and any default under this agreement.

                E] [Check box,        if                                               ]
                                   applicable and the creditor is nor a Credit Union. A presumption of
         undue hardship has been established with respect to this agreement. In my opinion,
         however, the debtor is able to make the required payment.


         Printed Name of Debtor’s Attorney:



         Signature    of Debtor’s Attorney:


         Date:
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    Form B240A/B ALT - Reafﬁrmaﬁon Agreement (Cont)                  8
    PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

         [Read and complete sections 1 and 2, Q13; ifthe creditor is a Credit Union and the deblor
         is represented by an attorney, read section 3. Sign the appropriate signature line(s) and
         date your signature. Ifyou complete sections 1 and 2 and your income less monthly
         expenses does not leave enough to make the payments under this reafﬁrmalion agreement,
         check the box (11,1179 top ofpage 1 indicating "Presmnpﬁon 0f Undue Hardship. ”
         Otherwise, chec the box at the top ofpage 1 indicating “N0 Preszmmtz’on of Unglue
         Hardship ’7                                                                                    K




         I.   I believe this reafﬁrmation agreement will not impose an undue hardship on my
         dependents or me, I can afford to make the payments on the reafﬁrmed debt because my
         monthly income (take home pay plus any other income received) is             , and my actual
                                                                                       35

         current monthly expenses including monthly payments on post~bankruptcy debt and other
         reafﬁlmation agreements total 3;          , leaving $         to make the required payments
         on this reafﬁrmed debt.

         I understand that if my income less my monthly expenses does not leave enough to make the
         payments, this reaffmnation agreement is presumed to be an undue hardship on me and must
         be reviewed by the court. However, this presumption may be overcome if I explain to the
         satisfaction
                 (:0:
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                                            court
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                                                            I   can   afford   to   make
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                                          with smMFLcMIr ’Pasmuq 94-5,? Flaw a,
                                                                                            the   payments       here:
                                                                                                             ‘IS A
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         ‘Foum :13 avg fem/25 (.4752 W 2549572 1795 app/cc; ﬁeWU/QJ71“                                                           ME
          (Use an additional page if needed for a full explanation.)
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                                                                       alien/73 7&344‘0
         2.   lreceiv-u      a copy      ofth -     afﬁrmation Disclosure Statement in Part A and   a   comple e d and       (211m


                   (Join/tPebt r,        if any)
                        I
         Date:               /1 Z)?”
                        ’        /
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Form B240A/B   ALT - Reafﬁrmatinn Agreement (Cont)                                                      9

PART E: MOTION FOR COURT APPROVAL
[To be campleted and ﬁled only ifthe debtor is not represented by an attorney'during the course   of
Mega timing this agreement]




  MOTION FOR COURT APPROViL OF REAFFTRMATION AGREEMENT

           I (we), the debt0r(s), affnm the following to be true and correct:

     1/    I am not represented by an attorney in connection with this reafﬁrmation agreement.

            I believe this reafﬁ rmation agreement is in my best interest based on the income and expenses I
  have disclosed in my Statement in Support of this reafﬁrmation agreement, and because (provide any
  additional relevant reasons the court should consider):

           Therefore, I ask the coun for an order approving this reaffmnation agreement under the following
  provisions (check all applicable boxes):

             1:] 11   U.S.C. § 524(c)(6) (debtor is not represented by an attorney during the
             course   of the negotiation of the reafﬁrmation agreement)

             Cl 11 U.S.C. § 524(m) (presumption of undue hardship has arisen because
              ,- thly expen =' a ceed monthly income)




  Date:
                (J


              ‘//I:7/ﬂ
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                            ebtor   'f any)
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   327 (Ofﬁcial Form 27) (12I09)


   11.         withs                eciﬁcity any difference between the mco              e   amounts (7A and 7B):
          Bﬁlai:m                                               as vmraﬁ WELcé-o
                         New:                         team
                                                                    I


   12V     Explain with speciﬁcity any difference between the income amounts (8A and 8B):
              I ﬂ
            v/Vazvé

   If line 11  or 12 is completed, the undersigned debtor, and joint debtor                     if applicable, certiﬁes that any
   expl    ation contained on those lines is true and con-act.
                              on.


                                    Qt...
  [Si/game oﬂZ‘cbtor (only required               if         Signature of Joint Debtor (if applicable, and only
             Line   11   or   12    1s   completed)                  required if line 11 or 12 is completed)

   Other Information

   13       Check this box if the total on line 1013 is less than zero. If that number is less than zero, a
   presumption of undue hardship an'ses (unless the creditor is a credit union) and you must explain with
   speciﬁcity the sources of funds available to the Debtor to make the monthly payments on the
   reafﬁrmed debt:                                                      ,




   Was debtor       presented by counsel during the course                  of negotiating this reafﬁrmation agreemﬁnt?           Owﬂa
          _____Yes                         ”No                                       ‘
                                                                                                                                              \
                                                                                                                                                  V/
                                                                                                                _

                                                                                                                                      My 0W‘
   If debtor was represented by counsel during the course of negotiating this reafﬁrmation agreement, has
   counsel executed       a    certiﬁcation (afﬁdavit or declaration) in support of thc reafﬁrmation agreement?
               Yes                            /No

                                                       FILER’S CERTIFICATION

              I hereby certify that the attached agreement is a true and correct (:0 'of the reafﬁrmation
                agreement between the parties identiﬁed on the                n      ement Cover Sheet.
                                                                                11:7“:                    .4...
                                                                                                                                Signature

                                                                                  WEUME‘CA}                              WEE       He) @353   "eat
                                                                                  Print/Typc Name       &   Signer   é   Relation to Case
